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Plaintiffs Name . H ow

Inmate No. WH WA
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ny EASTERNDIS BIGROF CALIFORNIA
DEPUTY CLERK

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

/:2t-ed-150/ SHB)

(Case Number)

(Name of Plaintiff)

i :
vs. AMENDED CIVIL RIGHTS COMPLAINT UNDER:
LJ ache PyWrced 42 U.S.C. 1983 (State Prisoner)
Cap wan bili werd -
Se i Bork Af . 00 Bivens Action [403 U.S. 388 (1971)] (Federal Prisoner)
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(Names of all Defendants) /

1. Previous Lawsuits (list all other previous or pending lawsuits on additional page)

A. Have you brought any other lawsuits while a prisoner? Yes No /

B. If your answer to A is yes, how many?

Describe previous or pending lawsuits in the space below. (If more than one, attach additional page to continue
outlining all lawsuits in same format.)

1. Parties to this.previous lawsuit:

Plaintiff ~

.
Defendants

me

2. Court (if Federal Court, give name of District; if State Court, give name of County) ,
w

.. \
MN
3. Docket Number 4. Assigned Judge

5. Disposition (Was the case dismissed? Appealed? Is it still pending?)

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6. Filing Date (approx.) 7. Disposition Date (approx.)

ll. Exhaustion of Administrative Remedies

NOTICE: Pursuant to the Prison Litigation Reform Act of 1995, “[n]o action shall be brought with respect to prison conditions
under [42 U.S.C. § 1983], or any other Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.” -42 U.S.C. § 1997e(a). Prior to filing suit, inmates are required to exhaust
the available administrative remedy process,Jones v. Bock, 549 U.S, 199, 211, 127 S.Ct. 910, 918-19 (2007); McKinney v. Carey, 311
F.3d 1198, 1999 (9th Cir. 2002), and neither futility nor the unavailability of money damages will excuse the failure to exhaust, Porter
v. Nussle, 534 U.S. 516, 524, 122 S.Ct. 983, 988 (2002). If the court determines that an inmate failed to exhaust prior to filing suit,
the unexhausted claims will be dismissed, without prejudice. Jones, 549 U.S. at 223-24, 127 S.Ct. at 925-26.

A. Is there apjimate appeal or administrative remedy process available at your institution?

Yes No

B. Have vou ypeen appeal or grievance concerning ALL of the facts contained in this complaint?

Yes No

C. Is the process completed?

Yes if your answer is yes, briefly explain what happened at each level.

No ~ if your answer is no, explain why not.

3)

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rv 5an

Ill. Defendants

) we
List each defendant's full name, official position, and place of employment and address in the spaces below. If you need additional
space please provide the same information for any additional defendants on separate sheet of paper.

A. Name LT a a Roberts is employed as Lt.

Current Address/Place of Employment cCW F.

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B. Name 54 vi\\ aex \ is employed as S 41 :

cow €

Current Address/Place of Employment

Clo

Cc. Name Dalarad Ke is employed as Cc. .

Current Address/Place of Employment cu F :

D. Name S Sma net is employed as C. 2.
CUW eH

Current Address/Place of Employment

SWarn . C.D.

E, Name is employed as

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Current Address/Place of Employment
Ce For nade Cis.

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IV. Causes of Action (You may attach additional pages alleging other causes of action and the facts supporting them if necessary.

Must be in same format outlined below.) ~

Claim 1: The following civil right has been violated (e.g. right to medical care, access to courts, due process, free speech, freedom of
religion, freedom of association, freedom from cruel and unusual punishment, etc.):

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1 ¥ -

Supporting Facts (Include all facts you consider important to Claim 1. State what happened clearly and in your own words. You need
not cite legal authority or argument. Be certain to describe exactly what each defendant, by name, did to violate the right alleged in

Claim 1.):

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Charnes Pars,

Claim 2: The following civil right has been violated (e.g. right to medical care, access to courts, due process, free speech, freedom of
religion, freedom of association, freedom from cruel and unusual punishment, etc.):

fraoko. fron Carvel \ usw awihneed

Supporting Facts (Include all facts you consider important to Claim 2. State what happened clearly and in your own words. You need
not cite legal authority or argument. Be certain to describe exactly what each defendant, by name, did to violate the right alleged in
Claim 2.):

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V. Relief

State briefly exactly what you want the court to do for you. Make no legal arguments. ee no cases or statues.
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| declare under penalty of perjury that the foregoing is true and correct.

Date: \\ r }-0 \ Signature of Plaintiff: Ansdbs ‘My

(Revised 4/4/14)

